JAN/09/2018/TUE Case
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            Toni Donahue on behalf of herself                                FILED
            and Minor Child, DCD
                                                                                 JAN 0 9 2018
            Petitioner
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                                                                            By                 Deputy



            Kansas Board of Education;
            Elena Lincoln, Individually and as Appeal Officer;
            Matk Ward, Individually and as Officer of Agency;
            Lloyd Swartz, Individually and as Due Process
            Hearing Officer;
            Scott Gordon, Individually and as Officer of Agency;
            Randy Watson, Commissioner of Education
            Respondents


                                Petition for Administrative Review



                  Toni R_ Donahue, and on behalf of her minor child, DCD, hereby

            petition the court for review of the Order of the Due Process hearing

            including arguments and the officer's decision on entered on December 14,

            2017 and with emphasis on the subsequent appeal proceeding including

            arguments, and the officer's decision to dismiss on January 2, 2018 for case

            number 18DP233-001, in its entirety.

                  Ms. Donahue is filing this civil action pursuant to 34 C.F.R.

            300.516 and 5 U.S. Code § 702, 5 U.S. Code section 7 in its entirety, with

            regards to 42 U.S. Code§ 1983and1985. A brief will be submitted

            forthwith in accordance with D. Kan. Rule 7.6
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                  Ms. Donahue is also asking for a preliminary injunction to halt any

            current or future action against herself and minor child by the Kansas State

            Department of Education, any officer of the agency, and/or the

            Commissioner of Education, and Olathe School District USD #233 until the

            review has ran its course. The parties involved have historically taken

            aggressive action to prevent this case from proceeding, including

            unsuccessfully attempting to remove DCD from the home by misusing other

            state agencies for this purpose, interfering with legal proceedings by

            providing the opposition with legal advisement to allege harassment against

            Ms. Donahue, and filing action for legal fees. Ms. Donahue expects more

            unlawful action as past behavior is the best predictor future behavior. As

            this case proceeds. safety for DCD is Ms. Donahue's priority and is asking

            the review officer to help protect and preserve the Donahue family.



                                          ~·~
            Toni R. Donahue acting Pro Se                  '/I/I8'
            322 S. Broadway Street

            Fort Scott, Kansas, 66701
